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Fill in this information to identify the case:

United States Bankruptcy Court for the District of Colorado,
Denver Division
                                                                                Case #:
Debtor 1       Oscar, Allison Lindsey
                                                                                Chapter: 13
Debtor 2




Local Bankruptcy Form 3015-1.1
CHAPTER 13 PLAN
Including Valuation of Collateral and Classification of Claims

Complete applicable sections. This chapter 13 plan dated March 19, 2019 [month/day/year] supersedes all previously filed plans.

Part 1    Notices

1.1. To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a written
     objection with the Court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file a
     timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or
     hearing. Creditors must file timely proofs of claim in order to receive the applicable payments.

1.2. Nonstandard Provisions
     [X] This plan contains nonstandard provisions set out in Part 12 of the plan.

1.3. Motions for Valuation of Collateral and Determination of Secured Status under 11 U.S.C. § 506
     [ ] This plan contains a motion for valuation of personal property collateral and determination of secured status under 11 U.S.C.
         § 506. Additional details are provided in Part 7.4 of this plan.
     [ ] The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. § 506 by
         separate motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan. Status of motion:

          [list status of motion here ( i.e. date filed, date granted, to be filed contemporaneously, etc.)]

1.4. Motions for Lien Avoidance 11 U.S.C. § 522(f)
     [ ] The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest under 11
     U.S.C. § 522(f) by separate motion. Additional details are provided in Part 10.4 of this plan. Status of motion:

      [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]


Part 2    Background Information

2.1      Prior bankruptcies pending within one year of the petition date for this case:
         Case number and chapter              Discharge or dismissal / conversion       Date
         None

2.2       Discharge: The debtor:
          [X] is eligible for a discharge

          OR

          [ ] is not eligible for a discharge and is not seeking a discharge.

2.3       Domicile & Exemptions:

          Prior states of domicile:

               within 730 days N/A [list states]

               within 910 days N/A [list states]
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           The debtor is claiming exemptions available in the [X] state of Colorado [state] or [ ] federal exemptions.

2.4        Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. §
           101(14A). Notice shall be provided to these parties in interest:

           A. Spouse/Parent:
              N/A
              [identify]
           B. Government:
              N/A
              [identify]
           C. Assignee or Other:
              N/A
              [identify]
           D. The debtor [ ] has provided the trustee with the address and phone number of the Domestic Support Obligation
              recipient, or [X] cannot provide the address or phone number because it/they is/are not available.

2.5        Median Income: The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, is
           [X] below, [ ] equal to, or [ ] above the applicable median income

Part 3     Plan Analysis

3.1        Total Debt Provided for under the Plan and Administrative Expenses

         A. Total Priority Claims (Class One)
            1. Unpaid attorney’   s fees                                                                          $ 2,700.00
                (Total attorney’s fees are estimated to be $ 0 [amount] of which $ 1,945 [amount] has
                been prepaid)
            2. Unpaid attorney’   s costs (estimated)                                                              $   300
            3. Total taxes
                (Federal $ 0 [amount]; State $ 0 [amount]; Other $ 0 [amount])                                     $0
         B. Total payments to cure defaults (Class Two)                                                            $0
         C. Total payments on secured claims (Class Three)                                                         $0
         D. Total payments on unsecured claims (Class Four)                                                        $ 13,740
         E. Sub-Total                                                                                              $ 16,740
         F. Total trustee’ s compensation (10%) of debtor’s payments)                                              $ 1,860
         G. Total debt and administrative expenses                                                                 $ 18,600

3.2        Reconciliation with Chapter 7
           A. The net property values set forth below are liquidation values rather than replacement values. The replacement values
              may appear in Class Three of the plan.
           B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
                  1. Value of debtor’  s interest in non-exempt property                                             $ 14,410

                                                                                                   X
                                                                Less costs                    Debtor’s      Less
Property                                          Value         of sale        Less Liens     Interest      Exemptions       = Net Value
Cash held by debtor                               20            0              0              100%          0                20
Certificate of Deposit, Bank of the West          12,397        0              0              100%          0                12,397
Health Savings Account                            1,993         0              0              100%          0                1,993

                   2. Plus: value of property recoverable under avoiding powers:                                   $0
                   3. Less: estimated Chapter 7 administrative expenses:                                           $ 2,191
                   4. Less: amounts payable to priority creditors:                                                 $0
                   5. Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative,    $ 12,219
                   enter zero)

         C. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds
            recovered from “
                           other property”described in Part 4.1.D below.                                 $ 13,740

Part 4     Properties and Future Earnings Subject to the Supervision and Control of the Trustee

4.1        Future Earnings: The debtor submits to the supervision and control of the trustee all or such portion of the debtor's future


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           earnings or other future income as is necessary for the execution of the Plan, including:
           A. Future earnings which shall be paid to the trustee for a period of approximately 60 [#] months, beginning
           [month/day/year] as follows:
           B.
              Number of Payments                       Amount of Payments                            Total
              60                                       310                                           18,600

                                                        Total of monthly payments                   18,600

           C. Amounts for the payment of Class Five post-petition claims included in above: $ 0 [amount]
           D. Other property:

           [specify].

4.2        Payments: The debtor agrees to make payments under the Plan as follows:
      [ ] Voluntary wage assignment to employer: Paid in the following manner: $ 310 [amount] to be deducted Monthly [time
      period, e.g., weekly, monthly, per pay period, etc.]. Employer’  s name, address, telephone number: [name, address,
      telephone number].

      OR

      [X] Direct Payment from debtor to trustee


Part 5     Class One - Claims Entitled to Priority Under 11 U.S.C. § 507

Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash payments
prior to the commencement of distributions to any other class (except that the payments to the trustee shall be made by
deduction from each payment made by the debtor to the trustee) as follows:

5.1        Allowed administrative expenses:
           A. Trustee's compensation (10% of amounts paid by debtor under this Plan)                               $ 1,860
           B. Attorney's Fees (estimated and subject to allowance)                                                 $ 2,700
           C. Attorney's Costs (estimated and subject to allowance)                                                $ 300

5.2        Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:
           A. Domestic Support Obligations: A proof of claim must be timely filed in order for the trustee to distribute amounts
              provided by the plan.
              1. Priority support arrearage: The debtor owes past due support to
                   [name] in the total amount of $                      [amount] that will be paid as follows:
                   [ ] Distributed by the trustee pursuant to the terms of the Plan; or
                   [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the
                   amount of $                       [amount] to                                                 . Of that monthly
                   amount,                       [amount] is for current support payments and $                        [amount] is to pay
                   the arrearage.
              2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court
                   and submit to the trustee an update of the required information regarding Domestic Support Obligations and the
                   status of required payments.
           B. Taxes
                  1. Federal taxes                                                                                 $0
                  2. State taxes                                                                                   $0
                  3. Other taxes:                                                                         $ None

                       [describe]
           C. Other Priority Claims                                                                           $ None

                          [describe]


Part 6     Class Two –Defaults

6.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must specifically serve
           such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.
6.2        Class Two A [if none, indicate]: Claims set forth below are secured only by an interest in real property that is the debtor's


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           principal residence located at 31468 Kings Vly W, Conifer, CO 80433-7506 [street address, city, state, zip code].
           Defaults shall be cured and regular payments shall be made:

[X] None

                                                                                                             Regular
                                                                                                             monthly
                                                            Total                    Total                   payment to
                                                            default                  amount to     No. of    be made           Date of
                                                            amount to     Interest   cure          months to directly to       first
Creditor                                                    be cured1     rate       arrearage     cure      creditor          payment


6.3        Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an
           interest in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last
           payment is due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular
           payments shall be made:

[X] None

OR

                                                                                                             Regular
                                                                                                             monthly
                                                            Total                    Total                   payment to
                                                            default                  amount to     No. of    be made           Date of
                                                            amount to     Interest   cure          months to directly to       first
Creditor                       Description of collateral    be Cured2     rate       arrearage     cure      creditor          payment


6.4    Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following, which are
assumed:

[X] None

OR

                                                                                                         Regular
                                                                                                         monthly
                                                                                                         payment to
                                                                                     Total        No. of be made               Date of
                                           Property, if any, subject to the          amount to months to directly to           first
Other party to lease or contract           contract or lease                         cure, if any cure   creditor              payment


           A.   In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of claim
                reflecting the rejection of the lease or contract within 30 days of the entry of the order confirming this plan, failing which
                the claim may be barred.

Part 7     Class Three –All Other Allowed Secured Claims

Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

7.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must specifically serve
           such creditor in the manner specified in Fed. R. Bankr. P. 9014 and 7004.

7.2        Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee to the
           creditors indicated above until such time that superior class creditors are paid in full. Any adequate protection payments
           made will be subtracted from the total amount payable. Unless otherwise provided, adequate protection payments will
           accrue from the date of filing but will not be made until the creditor has filed a timely proof of claim.

7.3        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012 and 7004 and


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           L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination of secured
           status under 11 U.S.C. § 506 as to the real property and claims listed in Part 1.3 of this plan and below. The plan is subject
           to the court’
                       s order on the debtor’ s motion. If the court grants the debtor ’
                                                                                       s motion, the creditor will have an unsecured claim
           in the amount of the debt as stated in any timely filed, allowed proof of claim, including such claims filed within thirty days
           from entry of an order determining secured status under Fed. R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3
           and below shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible
           for a discharge, upon the debtor’ s successful completion of all plan payments and the closing of the case.

[X] None

OR

                                                                                                                     Proof of
                                                                                                                     claim
                                                                Description of collateral                            amount, if
           Name of creditor                                     (pursuant to L.B.R. 3012-1)                          any

7.4        Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this chapter 13 plan,
           for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the property and claims
           below. The creditors shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328 or payment in full
           under nonbankruptcy law.

[ ] None

OR

           A.   The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed claim
                shall be treated as a general unsecured claim.
                                                                        Confirmatio Amount of                  Adequate        Total
                                                                        n value of       debt as       Interes protection      amount
Creditor                              Description of collateral         collateral       scheduled t rate      payment         payable

           B.  The following creditors shall be paid the remaining balance payable on the debt over the period required to pay the sum
               in full.
                                                                         Confirm
                                                                         ation
                                                                         value of Amount of              Adequate       Total
                                                                         collater debt as       Interes protection      amount
      Creditor                           Description of collateral       al       scheduled     t rate   payment        payable

7.5        Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The following creditors
           shall retain the liens securing their claims, and they shall be paid the amount specified which represents the remaining
           balance payable on the debt over the period required to pay the sum in full:

[X] None

OR

                                                                                                                 Adequate
                                                                                              Amount of          protection Total
                                                                                              debt as   Interest payment    amount
Creditor                                        Description of collateral                     scheduled rate                payable

7.6        Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an allowed secured
           claim to the holder of such claim:

[ ] None

OR

                                                                                                      Anticipated date of
Creditor                                                Property                                      surrender
Loancare LLC                                                31468 Kings Vly W, Conifer, CO 80433-7506      9/15/19



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7.7       Relief from Stay: Relief from the automatic stay and co-debtor stay to permit enforcement of the liens encumbering
          surrendered property shall be deemed granted by the Court at the time of confirmation of this Plan pursuant to 11 U.S.C. §§
          362(a) and 1301(a) and Fed. R. Bankr. P. 3015-1(d). With respect to property surrendered, no distribution on the creditor ’
                                                                                                                                    s
          claim shall be made unless that creditor files a proof of claim or an amended proof of claim to take into account the
          surrender of the property.

Part 8    Class Four –Allowed Unsecured Claims Not Otherwise Referred To in the Plan

8.1       Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
          A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part 3.2;
          or
          B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

8.2       Disposable Income: The monthly disposable income of $ 0 [amount] has been calculated on Form 122C-1 or 122C-2, as
          applicable. Total disposable income is $ 0 [amount], which is the product of monthly disposable income of $ 0 [amount]
          times the applicable commitment period of 36 months [time period].

8.3       Classification of Claims:
          A. [X] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the
          trustee of all prior classes;

          OR
          B. [ ] Class Four claims are divided into more than one class as follows:

          [describe].

8.4       Non-Dischargeable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. §
          523(a)(2), (4), or (6), will share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is
          dismissed, converted to a Chapter 7 or discharge enters, unless ordered otherwise.

Part 9    Class Five –Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)

Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:


OR

[X] None


Part      Other Provisions
10

10.1      Direct Payments: Payment will be made directly to the creditor by the debtor on the following claims:
                                                                                                             Monthly No. of
                                                                                                             payment months to
Creditor                                    Collateral, if any                                               amount  payoff
American Honda Finance                      2016 Honda CRV, 50,000 Miles, good condition, purchased late 201   407     31

10.2           Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.

10.3           Order of Distribution:
          A.   [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the chapter 13 trustee ’   s fee shall
               be paid up to, but not more than, the amount accrued on actual payments made to date. After payment of the Class
               One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class Two B and Class Two C creditors
               shall be paid in full before distributions to creditors in Classes Three, Four, and Five (strike any portion of this sentence
               which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in full before distributions to
               creditors in Classes Four and Five. Distributions under the plan to unsecured creditors will only be made to creditors
               whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are
               made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1..
          B.   [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:

               [exceptions].



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10.4       Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or
           has filed, by separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C.
           § 522(f) as to the secured creditors listed in Part 1.4 and below:

                                                                                                                                   Date of order
                                                      Description of collateral (pursuant to L.B.R              Date motion to     granting motion
Creditor                                              4003-2)                                                   avoid lien filed   or pending
None

10.5            Student Loans:

           [X] No student loans

           OR

           [ ] Student loans are to be treated as an unsecured Class Four claim or as follows:

           [describe].

10.6            Restitution:

           [X] No restitution

           OR

           [ ] The debtor owes restitution in the total amount of $                                  [amount] which is paid directly to
               [name/description] in the amount of $                                      [amount] per month for a period of     [#] months; or as
               follows:

                [describe].

10.7            Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation of
this Plan.

10.8       Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [X] will
           not [ ][check one] be obtained and kept in force through the period of the Plan.

                                                                                                            Insurance company, policy number.
                                                                                              Coverage      and agent name, address and
Creditor to whom this Applies             Collateral covered                                  amount        telephone number
                                          2016 Honda CRV, 50,000 Miles, good condition,
American Honda Finance                    purchased late 201                                  $675,100.00 Safeco OY6809085
Loancare LLC                              31468 Kings Vly W, Conifer, CO 80433-7506           Full        Travelers 6015870082031

           Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

Part       Presumptively Reasonable Fee
11

The following election is made:

[ ] Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the allowance of the
    Presumptively Reasonable Fee must be made by the objection deadline to confirmation.

OR

[X] Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).

Part       Nonstandard Plan Provisions
12

Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.


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[ ] None

OR

[X] The following plan provisions will be effective only if there is a check in the box “
                                                                                        included”in Part 1.2.
1. Regarding Debtor's residence at 31468 King's Valley West, Conifer, CO, no later than 9/15/19 Debtor will (a) sell the
residence with the cooperation of the joint owner Andrew Oscar, to fully satisfy the mortgage lien of Loancare or (b)
surrender possession of the residence to Loancare. Until such time, Debtor will continue to pay the current homeowner's
insurance premiums to protect the lien of Loancare on such residence.

2. Debtor will file amended schedules I and J within 30 days of selling or vacating the residence, and within 30 days of
paying off her 2016 Honda CRV loan with American Honda Finance.

[describe].

Part        Signature of Debtor’
                               s Attorney or Debtor (if unrepresented)
13

I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official Form
3015-1.1, and that the plan contains no nonstandard provisions other than those set out in Part 12.



Date March 19, 2019                                                            /s/ Brian Landy
                                                                               Signature

                                                                               Bar Number (if applicable): 25337 CO
                                                                               Mailing Address: Brian Landy, Attorney at Law
                                                                               4201 E. Yale Ave., Suite 110
                                                                               Denver, CO 80222
                                                                               Telephone Number: 303-781-2447
                                                                               Facsimile number: 303-380-2434
                                                                               E-mail address: brianlandy@landy-law.com


Part        Verification of Debtor
14

I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 19, 2019                                                          /s/ Allison Lindsey Oscar
                                                                               Signature of debtor 1

                                                                               Mailing Address: 31468 Kings Vly W
                                                                               Conifer, CO 80433-7506

                                                                               Telephone number:
                                                                               Facsimile number:
                                                                               E-mail address:

Dated: March 19, 2019
                                                                               Signature of debtor 2

                                                                               Mailing Address:
                                                                               Telephone number:
                                                                               Facsimile number:
                                                                               E-mail address:



1   The lesser of this amount or the amount specified in the Proof of Claim.
2   The lesser of this amount or the amount specified in the Proof of Claim.




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